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G=RMANTOM

G=RMANTOM -« Stolzenbergstr. 13 *;D-76532 Baden-Baden

EPOCH MEDIA GROUP

Mr. John Tang

Personal / confidential

229 West 28 th Street, Floor 7
New York, NY 10001, USA

Baden-Baden, den 26.01.2018

Subject: Cooperation agreement from May 16,2017 between Epoch Media Group and Mr. Harald M. Wayer,
(GERMANTOM International GmbH)

Dear John,

The contract concluded with me in New York on May 16,2017 has meanwhile been transferred to
the company GERMANTOM International GmbH, in which Man Yan is a shareholder and supporter
in addition to me, as a contractual partner of the Epoch Media Group.

Man Yan reported to you in detail about the current state of the development of the GERMANTOM
International GmbH in the last days and also discussed that we will go online later than planned due
to the considerable technical scope of the GERMANTOM International GmbH.

In addition, important programmers wishing to support us and the Epoch Media Group were only
able to start at GERMANTOM much later than planned due to notice periods with former employers.
As you were informed by Man Yan, we have only consumed about half of the approximately one
million cash flow capital, which we have organized partners for GERMANTOM as equity capital of
the company.

The fact that we currently have five employees for the procurement of goods alone means that our
costs are rising considerably in a controlled manner, so that we will presumably need and organize
further capital up to the time we go online and cover our costs through sales.

Man Yan taught you this in detail.

As Man Yan has agreed with you, it helps us to motivate the employees and the shareholders,
especially to organize additional capital in order to ensure the company conservatively, if the
duration of our existing contract of formerly 6 years is regulated, slightly modified.

‘In-agreement with Man Yan, you have approved anew term of 8 years and requested the provision

of a supplementary contract.

G=RMANTOM International GmbH

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| leave the supplementary provision for a period of 8 years in the supplementary agreement
enclosed with this contract, which | have already signed in duplicate.

Please countersign in accordance with the agreement and send me a copy for our documents
(preferably in advance by mail) back.

We are doing the best we can with a motivated team for our common goals and | would be very
happy to welcome you personally as a guest here in Baden-Baden, although I know that you are very
limited. in-time.

With best regards to New York,

 

Annex: Supplement to the Cooperation Agreement of 16 May,2017

Harald M. Wayer
CEO

G=RMANTOM International GmbH

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Annex:

Supplementary agreement with Epoch Media Group to the Cooperation agreement

between

Epoch.Media Group
229 West 28 th Street, Floor 7, New York, NY 10001, USA
represented by Mr. John Tang,

-hereinafter reffered to as Media Corporation
and

Mr. Harald M. Wayer

ZeppelinstraRe 10, 76530 Baden-Baden,
Germany

As a substitute:

GERMANTOM International GmbH
StolzenbergstraRe 13, 76532 Baden-Baden,
Germany

represented by Mr. Harald M. Wayer

The contracting parties have agreed to supplement and / or deviate from the existing cooperation agreement
of May 16,2017:

1.) The cooperation agreement of May 16,2017 between the Epoch Media Group with headquarters in New York, NY
10001, USA and Mr. Harald M. Wayer, 76532 Baden-Baden, Germany, has been transferred in person to GERMANTOM
International GmbH for Mr. Harald M. Wayer.

2.) The contracting parties declare the following amendment / addition to the existing cooperation agreement:

In the existing cooperation agreement dated May 16,2017, a contract term of 6 years was agreed. If the online shop of
GERMANTOM International GmbH is not yet online by April 1,2018, or if the online shop of GERMANTOM International
GmbH is not yet online by April 1,2018, the contract period will nevertheless begin from April 1,2018 for a period of 8
years.

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EPOCH MEDIA GROUP
John Tang, President /

 

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Supplementary agreement with Epoch Media Group to the Cooperation agreement

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and

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EPOCH MEDIA GROUP
John Tang, President

    

G=RMANTOM International GmbH

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